Case 4:20-cv-00447-ALM Document 55 Filed 05/02/22 Page 1 of 5 PageID #: 2398




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

 BRIAN HUDDLESTON,


               Plaintiff,                      CIVIL ACTION No. 4:20CV447

                                               JUDGE AMOS MAZZANT
               v.

 FEDERAL BUREAU OF
 INVESTIGATION and UNITED
 STATES DEPARTMENT OF JUSTICE,


               Defendants.


DEFENDANT FBI’S MOTION FOR LEAVE TO SUBMIT EXHIBIT IN CAMERA

       Defendant Federal Bureau of Investigation (“FBI”) moves for this Court for leave

to file an exhibit in camera, and states the following in support:

       As explained in the Fourth Declaration of Michael G. Seidel, attached to

Defendants’ Motion for Summary Judgment, the FBI withheld a ten-page report pursuant

to Exemptions 4 and 7(E). [ECF 39-1, page 47, ¶ 103]. The ten-page report itself is

identified as Bates pages FBI (20-CV-447)-637 through -646 in footnote 31 of the Seidel

Declaration. [Id. at FN 31]. The pages are further described on page 44 of the Vaughn

Index attached to Seidel’s Declaration, showing they are withheld pursuant to

Exemptions 4 and 7(E). [Id at 199].

       Grounds for this motion are as follows:




Defendant FBI’s Motion for Leave to Submit Exhibit In Camera                              1
Case 4:20-cv-00447-ALM Document 55 Filed 05/02/22 Page 2 of 5 PageID #: 2399




       Defendant FBI has filed this date, a Combined Reply to Plaintiff’s Response in

Opposition to Defendants’ Motion for Summary Judgment and Opposition to Plaintiff’s

Cross-Motion for Summary Judgment in this Freedom of Information Act (“FOIA”) case.

       In support thereof, the FBI requests to submit additional information regarding the

Exemption 4 justification for the ten-page document previously described. The FBI’s

justification for filing this exhibit in camera and ex parte is based on Exemption 7(E).

The FBI cannot explain the Exemption 4 information on the public record without

harming the Exemption 7(E) protection.

       As explained in the Seidel Declaration, for purposes of Exemption 4, commercial

and financial information is considered confidential when it is 1) both customarily and

actually treated as private by its owner; and 2) provided to the government with an

assurance of privacy. In reviewing the records at issue, the FBI located information that

originated with a private commercial institution. Specifically, the FBI located a ten (10)

page report, clearly marked as “COPYRIGHT PROPRIERTARY AND

CONFIDENTIAL – NOT TO BE SHARED WITH THIRD PARTIES” and each page of

content contains a marking that reads “Proprietary and Confidential.” In order to

determine whether or not this information qualified for protection pursuant to Exemption

4, on May 19, 2021, the FBI contacted the private commercial institution to establish if

the information located by the FBI was customarily treated as private by the commercial

institution; and whether or not they provided this information to the FBI with an

assurance of privacy. The private commercial institution informed the FBI that the

information located by the FBI is treated as private by the private commercial institution,


Defendant FBI’s Motion for Leave to Submit Exhibit In Camera                                 2
Case 4:20-cv-00447-ALM Document 55 Filed 05/02/22 Page 3 of 5 PageID #: 2400




and it was shared with an expectation the FBI would not disclose this information

publicly. Based on the proprietary nature of this information and the detriment to their

commercial interests that public release would entail, the private commercial institution

informed the FBI it would not have supplied this information originally without a belief

the FBI would hold this information in confidence. As such, the FBI determined this

confidential commercial information was provided to the FBI under an assurance of

confidentiality and is exempt pursuant to Exemption 4. [ECF 39-1, page 47, ¶103].

       As further explained in the Seidel Declaration, for purposes of Exemption 7(E),

specifically Exemption Category 7(E)-6 as categorized in the processed records, the FBI

withheld methods it uses to collect and analyze information it obtains for investigative

purposes. The release of this information would disclose the identity of methods used in

the collection and analysis of information, including how and from where the FBI

collects information and the methods employed to analyze it once collected. Such

disclosures would enable subjects of FBI investigations to circumvent these and similar

techniques, thus diminishing their usefulness. This, in turn, would facilitate the ability of

investigative subjects to accumulate information regarding the circumstances under

which specific methods were used and the utility of the information obtained. Release of

this type of information would enable criminals to educate themselves about the methods

employed to collect and analyze information and therefore allow them to take

countermeasures to circumvent the effectiveness of these methods and continue to engage

in activities that violate the law. Accordingly, the FBI properly withheld this information

pursuant to FOIA Exemption 7(E). [ECF 39-1, page 81, ¶171].


Defendant FBI’s Motion for Leave to Submit Exhibit In Camera                                    3
Case 4:20-cv-00447-ALM Document 55 Filed 05/02/22 Page 4 of 5 PageID #: 2401




       Because the FBI cannot explain the Exemption 4 information on the public record

without harming the Exemption 7(E) protection, the FBI respectfully requests leave to

submit an Exhibit A in camera.

                                            Respectfully submitted,


                                            BRIT FEATHERSTON
                                            UNITED STATES ATTORNEY

                                            /s Andrea L. Parker
                                            ANDREA L. PARKER
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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2022, a true and correct copy of the foregoing

document was filed electronically with the court and has been sent to counsel of record

via the court’s electronic filing system.

                                            /s/ Andrea L. Parker
                                            ANDREA L. PARKER
                                            Assistant United States Attorney




Defendant FBI’s Motion for Leave to Submit Exhibit In Camera                              4
Case 4:20-cv-00447-ALM Document 55 Filed 05/02/22 Page 5 of 5 PageID #: 2402




                         CERTIFICATE OF CONFERENCE

      In compliance with Local Rule CV-7(h), undersigned counsel hereby certifies that,

I have conferred with plaintiff’s counsel, and he opposes this motion.



                                         /s/ Andrea L. Parker_________
                                         ANDREA L. PARKER
                                         Assistant United States Attorney




Defendant FBI’s Motion for Leave to Submit Exhibit In Camera                          5
